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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                      *


vs.                                                *   Case No.: 22-15 APM


THOMAS E. CALDWELL                                 *
(U.S. v. Elmer Stewart Rhodes)
           *      *      *      *      *       *       *     *      *       *       *


                          CALDWELL’S REPLY IN SUPPORT OF
                          MOTION TO DISMISS COUNTS 1, 2, 3 & 4


      I.       The Government has not alleged a seditious conspiracy.

           A. Where relevant, the cases cited by the Government support Caldwell’s
              position.
           Emphasizing quantity over quality, the Government’s filing cites five cases that

involve inapposite portions of the seditious conspiracy statute which, accordingly, have

absolutely no relevance to the issue at hand. For example, one case involved a plot to

“overthrow, put down, and destroy by force the government of the United States and to levy

war against them.” Bryant v. United States, 257 F. 378, 380-82 (5th Cir. 1919). See also

Phipps v. United States, 251 F. 879, 880 (4th Cir. 1918) (defendants indicted under the

property seizure portion of the seditious conspiracy statute); United States v. Lebron, 222

F.2d 531, 532 (2d Cir. 1955) (defendants indicted for conspiring to gain Puerto Rican

independence by “force, violence, and armed revolt”); United States v. Rahman, 854 F.

Supp. 254, 254-55 (S.D.N.Y. 1994) (indictment alleged that defendants engaged in “a

seditious conspiracy to levy war of urban terrorism against the United States”).



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       The cases cited by the Government that actually relate to the portion of Section 2384

that the Rhodes defendants are charged with support Caldwell’s position that an essential

element of the crime is that force is intended to be used against executive branch personnel

attempting to enforce the law. See Reeder v. United States, 262 F. 36, 37 (8th Cir. 1919)

(“The indictment further alleged that the defendants . . . opposed by force . . . the authority of

the United States, its agents and officers, in the enforcement of said act.”) (emphasis added);

Orear v. United States, 261 F. 257 (5th Cir. 1919) (indictment alleging a “conspiracy to resist

the enforcement of a law of the United States, viz. the Selective Service Act, . . . by resisting

by force . . . officers who might attempt to arrest [draft evaders].”) (emphasis added); Wells

v. United States, 257 F. 605, 614 (9th Cir. 1919) (defendants conspired “to oppose by force

the President in putting into execution the law respecting the militia”) (emphasis added).

       Additionally, the Government cited an 1861 grand jury instruction given by Judge

Peleg Sprague regarding seditious conspiracy. (ECF 123 at 25-26). Judge Sprague’s 1861

grand jury charge, however, sheds no light on what Congress meant by the phrase “execution

of any law of the United States.” By contrast, a grand jury charge given by Judge Sprague

two years later supports Caldwell’s reading of the seditious conspiracy statute. Judge

Sprague, in explaining the reasons behind Congress’s enactment of the seditious conspiracy

statute, advised the grand jury:

       Until the year 1861, [treason and concealing treason] were the only provisions
       of the criminal law for the suppression of acts directly tending to the
       destruction of the government.
               There were indeed statutes making it criminal to obstruct, resist, or
       impede the execution of legal process, or to assault, beat, or wound any officer
       or other person duly authorized, in serving such process[.] . . . But these were
       regarded as minor offences[.] . . .
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               Under these laws, a marshal of the United States might be forcibly
       resisted, and he and his aids actually murdered, while in the execution of
       lawful process within a state, and yet the courts of the United States could
       sentence the offenders to no higher punishment than imprisonment for one
       year, and . . . state law might or might not prohibit such acts . . .[.]
               Such was the condition of our criminal jurisprudence for the protection
       of the life of the government, and to secure the enforcement of the laws, up to
       the time of the breaking out of this Rebellion.
Charge to Grand Jury—Treason, 30 F. Cas. 1042, 1043 (D. Mass. 1863) (emphasis added).

In short, the authorities cited by the Government, ironically, vindicate Caldwell’s position (as

does the Government’s proffer of legislative history).1

       B. Baldwin v. Franks supports Caldwell’s position.

       The Government attempts to minimize the Supreme Court’s holding in Baldwin v.

Franks, asserting that this decision “simply illustrate[s] the uncontested principle that for an

individual to violate Section 2384, he or she must plan to use force in service of resistance

against the government.” (ECF 123 at 24). The Government, respectfully, misreads

Baldwin, which held that, to constitute a seditious conspiracy, the target of the conspiracy’s

force must be government officials who are “endeavoring to carry the laws into execution”:




1
 The Government cited the sponsor of the seditious conspiracy statute, Senator
Trumbull, who gave, as an example of a violation of the statute, a congregation of settlers
who, by threats and intimidation, deter a federal land officer from selling public lands.
(ECF 123 at 11). This example, tellingly, is of a conspiracy aimed at an executive branch
officer attempting to execute federal law.
       Interestingly, Senator Trumbull, as the Government noted, explained that the bill’s
purpose was “to punish persons who conspire together to commit offenses against the
United States not analogous to treason.” (ECF 123 at 10) (citing 31 Cong. Rec. 277 (Jul.
26, 1861)) (emphasis added). By contrast, the Government has taken the strong-arm
position in recent plea agreements that the “most analogous” offense to seditious
conspiracy under federal sentencing guidelines is treason.
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       [T]he offence consists in preventing, hindering, or delaying the government of
       the United States in the execution of its laws. This . . . means something more
       than setting the laws themselves at defiance. There must be a forcible
       resistance of the authority of the United States while endeavoring to carry the
       laws into execution. . . . But that is not what Baldwin has done. His
       conspiracy is . . . not for hindering or delaying the United States in the
       execution of their measures to prevent [Chinese mistreatment under the
       treaty]. His force was exerted against the Chinese people, and not against the
       government in its efforts to protect them.
Baldwin v. Franks, 120 U.S. 678, 693-94 (1887) (emphasis added). The seditious conspiracy

statute “is intended to reach conspiracies . . . against the enforcement of [federal law].” Id. at

705 (J. Field, dissenting). Under Baldwin, the Government must prove that “the purpose of

the [seditious] conspiracy was the exertion of force against those charged with the duty of

executing the law of the United States[.]” Anderson v. United States, 273 F. 20, 22-23 (8th

Cir. 1921) (emphasis added). Section 2384’s “prima facie meaning condemns force only

when a conspiracy exists to use it against some person who has authority to execute and who

is immediately engaged in executing a law of the United States.” Haywood v. United States,

268 F. 795, 800 (7th Cir. 1920) (emphasis added).

       To counter Caldwell’s reliance on the holdings in Baldwin, Anderson, and Haywood,

the Government cites a handful of dictionaries to support its claim that the word “execution”

as used in Section 2384 means “to bring a law into effect.” (ECF 123 at 15-16). The

Government’s attempt to split hairs as to the word “execution” misses the point: the

historical evidence is overwhelming that the phrase “execution of the law”—even if it means

“to bring a law into effect”-- is inextricably tied to the actions of the executive branch:

       If the Executive Power Clause vests anything [in the President] beyond the
       authorities listed in Article II, it surely vests the power to execute the laws. The

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       power to execute the laws is the quintessential executive power. In fact,
       “executive” comes from the verb “to execute,” which means to perform, to put
       into action. Samuel Johnson’s Dictionary, a dictionary from the founding era,
       recorded the meaning of “executive” as “active; not deliberative; not
       legislative; having the power to put in act the laws.” The Oxford English
       Dictionary (of more recent vintage) confirms that the definition has not
       changed as it defines “executive” as a “distinctive epithet of that branch of the
       government which is concerned or charged with carrying out the laws,
       decrees, and judicial sentences.” Though dictionaries do not always precisely
       capture how a particular word is actually used in common parlance, in this
       case, history confirms that the founding generation used the phrase “executive
       power” precisely as did the founding-era dictionary. . . . [T]he founders
       clearly understood that the executive power was the power to execute the laws.
Saikrishna Prakash, Article II: The Essential Meaning of Executive Power, 2003 U. Ill. Rev.

701, 716 (2003) (internal citations omitted) (emphasis added). Respectfully, there can be no

doubt that the phrase “execution of any law of the United States,” as used in Section 2384,

refers to executive branch personnel enforcing federal laws.

       The Government complains that Caldwell’s assertion that “only executive officials

can execute the laws” implausibly means “that the relevant provisions of the Twelfth

Amendment and the 3 U.S.C. §15 are not ‘executed’ at all.” (ECF 123 at 18). Actually, this

position is not radical: “The structure of the Constitution does not permit Congress to

execute the laws[.]” Bowsher v. Synar, 478 U.S. 714, 726-27 (1986). In conducting the

Electoral College certification, Congress is not “executing a law”; rather, it fulfills a “judicial

in character” constitutional duty. Buckley v. Valeo, 424 U.S. 1, 133-34 (1976).

       C. Buckely v. Valeo rejected the Government’s position in the instant case.

       The Government, recognizing that Buckley creates an insuperable roadblock to its

seditious conspiracy case, urges the Court to effectively overlook Buckley and, instead,

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create a new category of constitutional law, i.e., the “special purposes” doctrine, whereby the

12th Amendment is exempted from the traditional separation of powers analysis:

               Recognizing that the President of the Senate and the House of
       Representatives execute the Twelfth Amendment and the Electoral Count Act
       is entirely consistent with the Constitution’s system of separated powers,
       which allows—indeed, mandates—a “partial intermixture” of legislative,
       executive, and judicial branches for certain ‘special purposes’ such as
       impeachment, ratification of treaties, and administration of the presidential
       election.
(ECF 123 at 17) (emphasis added).2 Averring that the Electoral College process is a “special

context,” the Government views Buckley as not controlling the instant case. Id.

       The Court should reject the Government’s proposed “special purposes” doctrine for

two reasons. First, Buckley rejected it. Buckley, 424 U.S. 1, 132 (1976) (per curiam) (“We

see no reason to believe that the authority of Congress over federal election practices is of

such a wholly different nature from the other grants of authority to Congress that it may be

employed in such a manner as to offend well-established constitutional restrictions stemming

from the separation of powers.”). Second, Buckley thoroughly rejected the Government’s

position that the Electoral College process was the “execution” of law.




2
  The Government cited Congress’s treaty authority and Alexander Hamilton to support its
“special purposes” argument. (ECF 123 at 17-18). The Government’s characterization of
Hamilton’s beliefs is, unfortunately, contrary to the historical record. Hamilton, in defending
President Washington’s famous “Neutrality Proclamation,” wrote that “the executive power is
vested in the president; subject only to exceptions and qualifications which are expressed in the
[Constitution].” 4 THE WORKS OF ALEXANDER HAMILTON 439 (Lodge ed., 1904). President
Washington, according to Hamilton, was “charged with the execution of the laws, of which
treaties form a part.” Id. at 437 (emphasis added). “The executive,” Hamilton bluntly wrote, “is
charged with the execution of all laws[.]” Id. at 440 (emphasis added).


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       The Government insists that Buckley “said nothing about whether the performance of

Twelfth Amendment functions constitutes the United States’ ‘execution of [a] law.’” (ECF

123 at 22). Not so. In fact, in its briefing before the Supreme Court, the FEC (Appellee-FEC

Commissioner Francis Valeo) asserted, front and center, the following argument:

                                             III.
       Congress’ Fundamental Constitutional Role in the Conduct of the Federal
       Electoral Process Embraces, in Addition to Its Legislative Power, the
       Performance of Quasi-Judicial and Quasi-Executive Functions.
Brief of Appellee at 20, Buckley, 424 U.S. 1 (1976) (emphasis added). In pursuance of this

argument, the FEC’s brief quoted the 12th Amendment, noting that it was an enumerated

power of Congress relating to presidential elections. Id. at 21. Immediately after quoting the

12th Amendment, the FEC’s brief, tellingly, asserted:

       It was in execution of this responsibility[, i.e., the 12th Amendment,] to judge
       the bona fides of returns that Congress devised the procedures[, i.e., 19 Stat.
       227], utilized in adjudicating the disputed Hayes-Tilden contest of 1876.
Id. at 22 (emphasis added). The FEC’s argument in Buckley was clear: congressional

appointees to the FEC could execute law just like Congress had previously engaged in the

“execution” of the 12th Amendment by “devis[ing] the procedures”—including passing what

is now 3 U.S.C. § 15 -- to carry out its Electoral College responsibilities.3

       The Buckley Court rejected the FEC’s argument, which is the same argument the

Government makes before this Court:

        Appellees also rely on the Twelfth Amendment to the Constitution insofar as
       the authority of the Commission to regulate practices in connection with the

3
  The FEC’s brief summarized its argument thusly: “[T]hat the Constitution confers upon the
Congress broad and pervasive responsibilities in relation to the federal electoral process and that
these embrace, in addition to Congress’ legislative role, auxiliary powers of a quasi-judicial and
quasi-executive character.” Id. at 6-7 (emphasis added).
                                                    7
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       Presidential election is concerned. This Amendment provides that certificates
       of the votes of the electors be "sealed [and] directed to the President of the
       Senate," and that the "President of the Senate shall, in the presence of the
       Senate and House of Representatives, open all the certificates and the votes
       shall then be counted." The method by which Congress resolved the celebrated
       disputed Hayes-Tilden election of 1876, reflected in 19 Stat. 227, supports the
       conclusion that Congress viewed this Amendment as conferring upon its two
       Houses the same sort of power "judicial in character[.]” . . .
Buckley, 424 U.S. at 133-34 (emphasis added) (internal citation omitted). In short, Buckley

rejected the FEC’s argument that Congress’s Electoral College procedures under the 12th

Amendment set a precedent whereby Congress was executing a law. Accordingly, the

Buckley Court struck down the portion of the Elections Act of 1971 that authorized

congressional appointees to, inter alia, execute laws as part of the FEC. Id. at 135.

       As noted previously, the 19th century statute, cited by Buckley, that “supports the

conclusion that Congress viewed [the 12th Amendment] as conferring [to it] . . . ‘judicial in

character’ [power],” is now codified as 3 U.S.C. § 15, i.e., the very statute that the Rhodes

defendants allegedly stopped the “execution” of. Per Buckley, Congress was not engaged in

the “execution of any law of the United States” when it was conducting its “judicial in

character” function of certifying the Electoral College. This conclusion is not surprising

because, as the D.C. Circuit opined, “the Constitution clearly places the responsibility for

executing the laws in the executive branch rather than in Congress.” Buckley v. Valeo, 519

F.2d 821, 926 (D.C. Cir. 1975) (aff’d in part, rev’d in part on other grounds, 424 U.S. 1

(1976)). In short, Buckley slams the door on any argument that Congress, including the Vice-

President,4 was engaged in the “execution of any law of the United States” on J6.


4
  Contrary to the Government’s insinuation, (ECF 123 at 23), Vice-President Pence possessed no
executive authority during his tenure, even when not serving as a purely legislative officer during
the Electoral College certification. See Glen H. Reynolds, Is Dick Cheney Unconstitutional?,
                                                8
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       D. The Indictment, per Baldwin and Buckley, does not state an offense.

       Count 1 of the Indictment alleges that the Rhodes defendants conspired to forcibly

“prevent, hinder, and delay the execution of any law of the United States.” (ECF No. 1,

¶15). The Indictment then lays out the “purpose” of the seditious conspiracy:

              16. The purpose of the conspiracy was to oppose the lawful transfer
        of presidential power by force, by preventing, hindering, or delaying by
        force the execution of the laws governing the transfer of power, including
        the Twelfth and Twentieth Amendments to the Constitution and Title 3,
        Section 15 of the United States Code.

(ECF 1, ¶16).

       Count 1 is very clear that the Rhodes defendants attempted to stop the lawful

transfer of presidential power “by force, by preventing, hindering or delaying by force the

execution of” the 12th and 20th Amendments, and 3 U.S.C. § 15. (ECF 1, ¶16). These

provisions are prominently mentioned in the very first paragraph of the Indictment, and

incorporated by reference in Count 1. (ECF 1, ¶¶1,14). Count 1 alleges a conspiracy with

force aimed at the laws themselves (the “election laws”) and not at those who are

authorized to execute the law. Accordingly, the Indictment fails because Baldwin held that

“setting the laws themselves at defiance” does not constitute a seditious conspiracy.

Baldwin, 120 U.S. at 693. As Baldwin makes clear, a seditious conspiracy requires that the

“force” used by the conspirators be targeted at a human being authorized to execute the

federal law being carried out, not at intangible concepts like the law. How, exactly, does

one apply “force” against a law?5


102 Northwestern L. J. 110, 111 (2007) (“The Constitution gives the Vice President no executive
powers[.]”).
5
  Applying force against a “law” is like applying force against calculus formulas or
philosophical doctrines.
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       Alternatively, if the Court believes that the Indictment can be broadly read as

alleging that Members of Congress were “executing” the election laws, Count 1 still must

be dismissed. The Indictment’s clear allegation is that the Rhodes defendants forcibly

targeted “the execution of . . . the Twelfth and Twentieth Amendments to the Constitution

and Title 3, Section 15 of the United States Code.” (ECF 1, ¶16). These constitutional and

statutory duties relate exclusively to Congress. Congress, however, is constitutionally

prohibited from engaging in the “execution of any law of the United States.” See Bowsher,

478 U.S. at 726-27. Even if Congress could theoretically execute the law, Buckley v. Valeo

emphatically held that the Electoral College certification process via the 12th Amendment

and 3 U.S.C. § 15 is a judicial-like function, not Congress engaging in law-execution.

Count 1, despite setting forth a detailed purpose of the conspiracy, fails to name as the

target of the conspiracy’s force a person authorized to execute a law that the Rhodes

defendants opposed. Accordingly, Count 1 fails to state an offense.

       E. The Twentieth Amendment cannot be “executed.”

       The Government’s claim that the 20th Amendment saves Count 1 is meritless. The

20th Amendment provides, in pertinent part:

       Sec. 1: The terms of the President and Vice President shall end at noon on the
       20th day of January, and the terms of Senators and Representatives at noon on
       the 3d day of January, of the years in which such terms would have ended if
       this article had not been ratified; and the terms of their successors shall then
       begin.

U.S. Const. Amend. XX, § 1. No person “executes” the 20th Amendment, which

automatically, by operation of law, ended the presidency of President Trump on January 20,

2021 at noon. Cf. EDS Corp., Iran v. Soc. Sec. Org., 508 F. Supp. 1350, 1359 (N.D. Tex.

1981) (finding that an executive order signed by President Carter on January 18, 1981, but
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not published in compliance with federal law until after President Reagan took office, was

likely void under the 20th Amendment). Joseph R. Biden became President by operation of

law on January 20, 2021 at noon. Count 1 fails to state an offense for the obvious reason that

nobody “executes” the 20th Amendment.6



    II.       Counts 2 & 3 must be dismissed.

           As Caldwell has fully briefed his respectful disagreements with the Court’s prior

ruling vis-à-vis 18 U.S.C. § 1512, and the Government has not responded to Caldwell’s plain

language arguments, no additional argument is presented as to Counts 2 & 3.



    III.      Count 4 must be dismissed, as 18 U.S.C. § 372 does not apply to Congress.



              A. The plain language of 18 U.S.C. § 372 confirms Caldwell’s position.

           The plain language of 18 U.S.C. § 372 clearly excludes Members of Congress.

Section 372 makes it a crime for two or more persons to

           conspire to prevent, by force, intimidation, or threat, any person from
           accepting or holding any office, trust, or place of confidence under the United
           States, or from discharging any duties thereof, or to induce by like means any
           officer of the United States to leave the place, where his duties as an officer are
           required to be performed, or to injure him in his person or property on account

6
  The Government claims that the Rhodes defendants’ conspiracy “encompassed using
violence to stop the Inauguration[.]” (ECF 123 at 23). This wild claim gets the Government
nowhere. First, putting a melodramatic spin on private social media communications is not
“proof” that any defendant intended violence “to stop the Inauguration.” Second, the
Inauguration is not a constitutionally-mandated function but, instead, a ceremony akin to a
wedding reception, which occurs after the couple is married. By the 20th Amendment,
Donald Trump’s presidency automatically ended at the same time President Biden’s
presidency began.
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       of his lawful discharge of the duties of his office, or while engaged in the
       lawful discharge thereof, or to injure his property so as to molest, interrupt,
       hinder, or impede him in the discharge of his official duties . . .
18 U.S.C. § 372. This statute protects “officer[s] of the United States” and “person[s] . . .

accepting or holding “office[s], trust[s], and place[s] of confidence.” Id. Section 372’s

language, however, strongly suggests that an office, trust, and place of confidence are

stations occupied by an “officer of the United States.” After the term “officer of the United

States,” for example, Congress used the nouns “place” and “office” to describe venues

occupied by an “officer of the United States.” A fair reading of Section 372 is that

“officer[s] of the United States” are equivalent to those “holding any office, trust, or place of

confidence under the United States.”7

       Binding precedent holds that the term “officer of the United States,” absent

unambiguous language to the contrary, means “officer” as that term is used in the

Appointments Clause. United States v. Hartwell, 73 U.S. 385, 393- 394 n.9 (1868) (“an

office is a public station, or employment, conferred by the appointment of government”);

United States v. Germaine, 99 U.S. 508, 509-10 (1878) (holding that the statutory term

“officer of the United States” is “defined by the Constitution” in the Appointments Clause);

United States v. Mouat, 124 U.S. 303, 307 (1888) (same).




7
  Section 372 uses the broader term “person” (“any person from accepting or holding any office,
trust, or place of confidence”) in describing the occupants of offices, trusts, and places of
confidence. The term “person” was likely used for two reasons. First, Section 372 covered not
only officers “holding” their positions, but also those on the cusp of accepting offices and, as
such, were not yet “officers of the United States.” The term “person,” accordingly, covered both
current and future officers. Second, as discussed infra, Section 372’s language mirrors that used
in the Constitution’s Ineligibility Clause, which also used the term “person.” In short, a “person”
under Section 372 clearly means an “officer of the United States” or someone on a path to
becoming an “officer of the United States.”
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       The Government does not dispute that Hartwell, Germaine, and Mouat are binding

precedent or that Appointments Clause officers do not include Members of Congress.

Instead, the Government cites Section 372’s reference to “any office, trust, or place of

confidence under the United States” as proof that Congress included itself within the statute.

The Government’s argument is flawed for several reasons, most notably because of Section

372’s use of the word “accepting.”

       The first portion of Section 372 disjunctively creates two separate crimes: one aimed

at victims on the cusp of “accepting . . . any office, trust, or place of confidence,” the other at

victims contemporaneously “holding any office, trust, or place of confidence.” The

Government argues that under Section 372’s “alternative phrasing,” Members of Congress

“hold” offices even if they do not “accept” their offices. (ECF 123 at 44). To the contrary,

while the verbs “accepting” and “holding” create two separate methods of violating Section

372, they nonetheless relate to the same nouns, i.e., “office[s], trust[s], and place[s] of

confidence.” Accordingly, one attains a position at an “office, trust, or place of confidence”

by “accepting” that position. Logically, for one to “accept” an “office, trust or place of

confidence” presupposes that the person was offered or given such a position.8 Members of

Congress are not offered their positions; rather, they campaign for office and are elected by

the voters, after which they “assume” or “take” office. The Government labels Caldwell’s




8
 “Accepting” is a transitive verb that means “to take something that someone gives you.”
https://www.macmillandictionary.com/us/dictionary/american/accept.


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straight-forward interpretation “a speculative linguistic claim.” (ECF 123 at 44). Caldwell

has a different label: a commonsense reading of Section 372.9

       As Congress did not include itself10 in Section 372 by using the word “accepting,”

there really is no need to analyze the word “holding” (i.e., “accepting or holding any office,

trust, or place of confidence[.]”). Nonetheless, Caldwell demonstrated that the term

“holding,” as used in Section 372, excludes Members of Congress by citing the Ineligibility

Clause of the Constitution, which contains identical language. Compare 18 U.S.C. § 372

(“any person . . . holding any office . . . under the United States”) with U.S. CONST., ART. I,

§ 6, cl. 2 (“[N]o Person holding any Office under the United States, shall be a Member of

either House during his Continuance in Office.”). Using language identical to that used in

the Ineligibility Clause would seem to be an odd way for Congress to unambiguously include

itself as “holding” an “office” under Section 372.

       Additionally, Caldwell cited numerous federal and state constitutional provisions that

clearly illustrated that offices of “trust,” in the eyes of the Founding generation, excluded



9
 The Government cited eight Section 372 cases, all of which clearly involved attacks on
Appointments Clause officers. (ECF 123 at 42).
10
   The Government finds it unthinkable that Members of Congress would have excluded
themselves from the protections of Section 372. Caldwell’s answer: Why would Congress have
included itself? The first section of the statute was passed on July 1, 1861 at a time when dozens
of federal forts, outposts, docks, shipyards and other facilities maintained by “officers of the
United States” throughout the South were being overrun. Capitol Hill was not being threatened.
In fact, the congressmen who remained loyal to the Union largely viewed the secession
movement as a farce, with many traveling to Manassas, Va. to watch the Battle of the First Bull
Run on July 21, 1861, three weeks after the first portion of Section 372 was passed.
         Likewise, the second portion of Section 372, which added the term “officer of the United
States,” was passed as part of the Enforcement Act, which addressed Klan violence in the South.
The “officers” who were being chased from their posts were not Members of Congress but,
rather, officers of the Freedmen’s Bureau and the military.
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elected officials. (ECF 84 at 39-40). The Office of Legal Counsel, after exhaustive

historical research, also concluded that the term “office of trust” is an equal or lesser

included entity than an “office under the United States.” In examining the Emoluments

Clause, for example, the OLC opined:

       The text of the Emoluments Clause suggests that an “Office of Profit or Trust
       under [the United States]” must be an “Office under the United States.” As
       discussed below, to the extent that the phrase “of Profit or Trust” is relevant, it
       may serve to narrow an “Office . . . under [the United States]” to those that are
       “of Profit or Trust,” or an “Office of Profit or Trust” may be synonymous with
       an “Office . . . under [the United States],” but it is clear that the words “of
       Profit or Trust” do not expand coverage of the Emoluments Clause beyond
       what would otherwise qualify as an “Office . . . under [the United States].”
See Application of the Emoluments Clause to a Member of the President’s Council on

Bioethics, 29 Op. O.L.C. 55, 56-57 (2005) (emphasis added).

           B. The Court’s holding in Thompson v. Trump is, respectfully, flawed.

       The Government heavily relies on the Court’s holding in Thompson v. Trump, a J6-

related civil suit involving Section 1985. Thompson v. Trump, 2022 U.S. Dist. LEXIS 30049

* (APM). Unfortunately, President Trump’s briefing in that case did not include the much

stronger arguments set forth by Caldwell, which resulted in, respectfully, flaws in the Court’s

opinion. Most notably, Trump did not assert the plain language argument based on the word

“accepting” in Section 372, which shuts the door on any notion that Members of Congress

are included in the statute.

       Additionally, Trump did not bring to the Court’s attention binding Supreme Court

precedent laid out in Caldwell’s papers as to the terms “office” and “officer of the United

States.” This led the Court to discern the meaning of the word “office” from 19th century

dictionaries, finding that “Reconsturction-Era dictionaries defined that term to include

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legislators.” Id. at 84-85. The Court’s analysis in Thompson, however, is in direct conflict

with United States v. Hartwell, where the Supreme Court, referencing the Appointments

Clause, held that “an office is a public station, or employment, conferred by the appointment

of government.” Hartwell, 73 U.S. at 393-94 n.9 (1868) (emphasis added). Hartwell,

Germain, and their progeny stand for the proposition that an “office” refers to a station held

by officers appointed via the Appointments Clause, which excludes Members of Congress.

       The Court also, as a result of inadequate briefing, erroneously concluded that the

Reconstruction-Era Congress also would have understood the terms “trust” and “place of

confidence” to include members of Congress. Thompson at 86. The Court opined:

        In fact, the term [“trust”] had a meaning broader than the term "office." It
       included "a confidence reposed in one person for the benefit of another."
       BURRILL, supra, at 549. And, though the term "place of confidence" does not
       appear in the legal dictionaries of the day, its natural meaning must be as all-
       encompassing as "trust." There can be little doubt that the plain text of §
       1985(1) reaches members of Congress.
Id. (citing 2 Alexander M. Burrill, A LAW DICTIONARY AND GLOSSARY 257 (2d ed. 1867))

(emphasis added). Ironically, the definition of “trust” cited by the Court includes “a

confidence reposed in one person for the benefit of another,” which is strikingly similar to

language used in presidential commissions. See, e.g., Embry v. United States, 100 U.S. 680

(1879) (reprinting language for a Postmaster commission: “Know ye, that reposing special

trust and confidence in the integrity . . . of Bowling Embry, I [President Grant] have . . .

appoint[ed] him deputy postmaster at Nashville . . . to execute . . . the duties of that

office[.]”) (emphasis added). In other words, the Court’s definition of “trust” cited in

Thompson supports Caldwell’s position that a “trust” and “place of confidence” were




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references to Appointments Clause positions, i.e., federal judges and Article II appointees,

whom the President “reposes trust and confidence” in to carry out their offices.

       In Thompson, moreover, the Court acknowledged that it could not find a

contemporaneous definition for “place of confidence,” but determined that it was an “all-

encompassing term” which included members of Congress. Thompson at 86. Likewise, the

Government’s filing provides no explanation for the term “place of confidence.” By

contrast, Caldwell is the only litigant to bring forth a plausible meaning as to this term, citing

the ubiquitous presidential commissions issued to Appointments Clause officers that have

been issued since the founding, which use the words “trust and confidence.” Respectfully:

Is it just a coincidence that the terms “office,” “officer of the United States,” “trust,”

“confidence,” and “discharge the duties thereof” appear in both Section 372 and presidential

commissions issued via the Appointments Clause?

           C. The Court and Government, respectfully, misconstrued Lamar v. United
              States.
       In Thompson, the Court relied on Lamar v. United States in support of its position that

the term “officer of the United States” in Section 372 includes Members of Congress:

       Moreover, the Supreme Court has not reflexively imported constitutional
       meanings into federal statutes, as President Trump urges the court to
       do. Lamar v. United States, 240 U.S. 60, 36 S. Ct. 255, 60 L. Ed. 526 (1916),
       is illustrative. There, a defendant who presented himself as a member of the
       House of Representatives was convicted of impersonating "an officer of the
       United States." Lamar, 240 U.S. at 64. On appeal, the defendant asserted,
       much like President Trump does here, "that the interpretation of the
       Constitution was involved in the decision that a Congressman is an officer of
       the United States." Id. The Court soundly rejected that argument, saying "[a]s
       to the construction of the Constitution being involved, it obviously is
       not." Id. at 65. "[W]ords may be used in a statute in a different sense from that
       in which they are used in the Constitution." Id. The pertinent question, the

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       Court said, was what "officer" meant not in the Constitution but in the criminal
       code. Id. The same is true here.


Thompson at 84-85 (citing Lamar v United States, 240 U.S. 60 (1916)). Respectfully, the

Court and Government have completely misconstrued the holding in Lamar which,

ironically, backs up Caldwell’s position.

       Actually, the Supreme Court issued two separate opinions regarding the prosecution

of David Lamar. This Court in Thompson cited the first Supreme Court opinion, United

States v. Lamar, 240 U.S. 60 (1916), which included a barebones recitation of facts and

virtually no legal analysis. The Court, apparently, was unaware of the second Lamar

opinion, which has an extensive factual and legal analysis that emphatically buttresses

Caldwell’s position and undermines the Court’s Thompson decision.

       In Lamar (II), the defendant was charged with impersonating a Member of Congress

for the purpose of defrauding a creditor under Penal Code Section 32, which punished

anyone who

       with intent to defraud either the United States or any person, shall falsely
       assume or pretend to be an officer or employee acting under the authority of
       the United States, or any Department, or any officer of the Government
       thereof, . . .[.]
Lamar v. United States, 241 U.S. 103, 111 (1916) (citing Penal Code § 32) (emphasis

added). The criminal statute at issue prohibited impersonating three separate categories of

officers. The indictment lodged against the defendant charged the last category of

“officers,” i.e., an “officer of the Government”:

       The indictment charged that at a stated time the petitioner "unlawfully,
       knowingly and feloniously did falsely assume and pretend to be an officer of


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       the Government of the United States, to-wit, a member of the House of
       Representatives of the Congress of the United States of America[.]

Id. at 111 (emphasis added). In short, the issue before the Supreme Court was whether a

Member of Congress was an “officer of the Government” within the meaning of the statute

not, as the Court believed in Thompson, an “officer of the United States.”

       The Lamar Court opined:

       It is insisted that no offense under the statute was stated in the indictment
       because a member of [Congress] is not an officer acting under the authority of
       the United States within the meaning of the provision of the Penal Code upon
       which the indictment was based. This contention is supported by reference to
       what is assumed to be the significance in one or more provisions of the
       Constitution. . . . But . . . the issue here is not a constitutional one, but who is
       an officer acting under the authority of the United States within the provisions
       of the section of the Penal Code under consideration? And that question must
       be solved by the text of the provision, not shutting out as an instrument of
       interpretation proper light which may be afforded by the Constitution and not
       forgetting that a penal statute is not to be enlarged by interpretation[.] United
       States v. Hartwell, 6 Wall. 385, 395[.]


Id. at 112 (emphasis added). The above-quoted language, respectfully, is at odds with

Thompson, where this Court expressed “doubts that Congress intended to use the

Constitution as a dictionary for interpreting the words found in [the Enforcement Act].”

Thompson at 83.

       The Lamar Court then analyzed the relationship between Members of Congress and

the government to determine whether the statutory term “officer of the Government”

extended beyond the traditional “officer of the United States” definition stated in Hartwell:

       Guided by these rules, when the relations of members of the House of
       Representatives to the Government of the United States are borne in mind and
       the nature and character of their duties and responsibilities are considered, we


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       are clearly of the opinion that such members are embraced by the
       comprehensive terms of the statute.

Lamar, 241 U.S. at 112 (emphasis added). Respectfully, the second Lamar opinion conflicts

with this Court’s opinion in Thompson in two significant respects: 1) Lamar involved the

definition of officer of “the Government,” not “officer of the United States”; and 2) Lamar

followed Hartwell for the proposition that courts, in construing the term “officer,” should

look to the Constitution for definitional guidance.11

       A fair reading of Lamar II is that it followed the Hartwell and Germaine line of cases,

but found that “the comprehensive terms of the statute,” i.e., “officer of the Government,”

evinced a clear intent by Congress to reach beyond Appointments Clause officers. The term

“officer of the United States,” under binding precedent, is presumed to mean Appointments

Clause officers. The language surrounding “officer of the United States” in Section 372,

unlike the statute in Lamar, does not clearly and unambiguously demonstrate that Congress

intended to include themselves in that provision. In fact, the plain language proves

otherwise.

             D. Obviously Members of Congress are “officers.”

       Caldwell does not dispute that Members of Congress are constitutional officers.

Likewise, Caldwell does not dispute that both a Sherman tank and a Prius are “automobiles.”

All “officers” and “offices” under the Constitution, in other words, are not the same,

especially as used in 19th century statutes. The Civil War to Reconstruction-era Congresses



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  Nine years after Lamar, the Supreme Court reasserted: “It is quite true that the words
‘officer of the United States,’ when employed in the statutes of the United States, is to be
taken usually to have the limited constitutional meaning.” Steele v. United States, 267
U.S. 505, 507 (1925).
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that drafted Section 372 also drafted and passed the 14th Amendment’s “Rebel

Disqualification Clause,” which provided:

       Sec. 3. No person shall be a Senator or Representative in Congress, or elector
       of President and Vice-President, or hold any office, civil or military, under the
       United States, or under any State, who, having previously taken an oath, as a
       member of Congress, or as an officer of the United States, or as a member of
       any State legislature, or as an executive or judicial officer of any State, to
       support the Constitution of the United States, shall have engaged in
       insurrection or rebellion against the same[.]
U.S. Const. Amend. XIV, sec. 3 (emphasis added). Clearly, the postbellum Congress did not

view themselves as “officer[s] of the United States.” The second half of Section 372, as the

Government noted, was added during Reconstruction, including the term “officer of the

United States.” (ECF 123 at 42). Respectfully, it is beyond belief that the same Congress

that distinguished between their Members and “officer[s] of the United States” in the 14th

Amendment intended, three years later, a different meaning in Section 372.

       E. Legislative history does not support the Government’s position.

       The Government claims that “legislative history further confirms that Members of

Congress fall within Section 372’s ambit.” (ECF 123 at 43). To buttress its claim, the

Government quotes snippets from the Congressional Record during debates on the

Enforcement Act. Caldwell has reviewed these statements—in context—and has found that

none of them support the Government’s position. For example, the Government citied

remarks by Senator Trumbull that “suggested” that Section 372 would cover Members of

Congress. (ECF 123 at 44). A review of the context of Senator Trumbull’s remarks,

however, actually supports Caldwell’s position that “officer of the United States” refers to

“commissioned officers” under the Appointments Clause.


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       During debate on the Enforcement Act, Trumbull opposed one aspect of the proposed

statute, which he viewed as overbroad. Trumbull called for “the attention of Senators . . .

and especially of the lawyers of the body” for assistance to address his concern and then

hypothetically mused: “the Senator who sits before me . . . has a very valuable farm over in

Maryland . . . [and] suppose while he is here in the discharge of his duties of his office

somebody trespasses upon his farm[.]” 44 Cong. Rec. 580 (Apr. 11, 1871). Trumbull

obviously was not addressing the issue before the Court but, rather, was expressing concern

about expansive language in the bill in relation to what criminal acts it covered.

       In response, Vermont Senator George Edmunds, a member of the Senate Judiciary

Committee, reminded Trumbull about the Illinois senator’s previous support two years

earlier for a similarly-worded bill:

       Mr. EDMUNDS: [The Enforcement Act], [Senator Trumbull] will see,
       applies to officers of the United States. Let me ask him if within the period of
       two years he has not united with the Senate . . . in passing a bill which
       punished everybody for assaulting or beating an officer of the United States,
       marshal or collector, or anybody engaged in the performing the duties of his
       office, and even while [going back and forth to work]?
               I am not certain in my recollection about this last inquiry; but let me
       ask [Senator Trumbull] if he and I did not vote for a bill two years ago which
       provided . . . for punishing everybody who undertook to assault . . . an officer
       while he was engaged in performing the duties of the office which his
       commission under the United States authorized him to perform?
Id. (emphasis added). Senator Edmunds, confirming Caldwell’s position, clearly viewed the

term “officer of the United States” as used in the Enforcement Act as applying to

commissioned officers. Finally, a review of the Government’s other cited legislative history




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reveals that Congress engaged in absolutely no debate as to whether Members of Congress

were covered by Section 372.12

       F. The correct legal standard supports Caldwell’s interpretation of § 372.

       Section 372 applies to any “officer of the United States.” Under binding precedent,

this term is presumed to mean Appointments Clause officers. This presumption is especially

iron-clad given that the full statute was passed between the decisions in Hartwell (1868) and

Germaine (1878) and three years after Congress passed the 14th Amendment (1868), which

distinguished between congressmen and “officers of the United States.” The issue is whether

other language in Section 372 clearly and unambiguously expands this term beyond

Appointments Clause officers. The answer is clearly to the negative.

       As noted supra, the phrase “office, trust, or place of confidence under the United

States” are stations occupied by “officers of the United States.” Even if offices, trusts, and

places of confidence is a broader category than “officer[s] of the United States,” Members of

Congress, who are neither offered their jobs nor accept their offices, cannot possibly hold

these positions. Congress, moreover, parroted language from the Constitution’s Ineligibility

Clause (“holding . . . any office under the United States”) in Section 372, which buttresses


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   The Government also cited Rep. Wilson, who advised that: “I am reliably informed that
not three days ago a member of this House was [threatened] . . . not to vote for this bill, for
the reason that he could not safely return to his home if he did.” (ECF 123 at 47). Again,
however, the suggestion that this statement supports the notion that Congress was including
itself in what is now Section 372 is inaccurate. In fact, two paragraphs down from the
Government’s quoted language, Wilson stated: “What is the purpose of driving officers from
their places? Is it for gain or the ‘base aims of individual offenders’? No. It is to get rid of
votes, to get possession of local and State governments.” 44 Cong. Rec. 484 (Apr. 5, 1871).
Wilson’s quote suggests that Section 372’s purpose was to protect federal authorities located
within the South who were charged with protecting the integrity of elections, not Members of
Congress.
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Caldwell’s position that Members of Congress were not included in this language. The

words “office,” “trust,” “confidence,” and “discharging any duties thereof,” additionally, all

appear in the ubiquitous commissions issued to Appointments Clause officers, but not issued

to Members of Congress.

       In Section 372, the Court is presented with an antiquated statute filled with

antediluvian syntax that was passed at a time when Members of Congress strictly adhered to

language in the Constitution. The statute has never been used in the context of Congress.

Caldwell, respectfully, has presented overwhelming proof that Section 372 does not include

Members of Congress.

       G. Count 4 must be dismissed, as it fails to state an offense.

       Count 4 of the Indictment alleges that “Members of the United States Congress” were

the targeted victims of the Rhodes defendants’ actions. As Members of Congress are not

“officers of the United States” under Section 372, Count 4 fails to state an offense and,

accordingly, must be dismissed.

                                       Conclusion

       WHEREFORE, the defendant, Thomas E. Caldwell, respectfully requests that this

Honorable Court dismiss Counts 1-4 of the Indictment in this matter with prejudice.

                                                    Respectfully Submitted,
                                                          /s/___________________
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                              CERTFICATE OF SERVICE


       I HEREBY CERTIFY that on this 11th day of May, 2022, a copy of the foregoing
Reply In Support of Motion to Dismiss Counts 1, 2, 3, & 4 was electronically filed with the
Clerk of the United States District Court using CM/ECF, with a notice of said filing to the
following:
      Counsel for the Government:         Office of the United States Attorney
                                          Kathryn Rakoczy, AUSA
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                                                       /s/___________________
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